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BEFORE THE U.S. DEPARTMENT OF LABOR

 

§
In the Matter of: §
§
JUAN LOZADA-LEONI, §
§
Complainant, §
§
v. § Case No. 2018-SOX-00004
§
MONEYGRAM INTERNATIONAL, §
§
Respondent. §
§
JUAN LOZADA-LEONI’S ORIGINAL COMPLAINT
T. FACTS woe cceeccesecscssecsenseesecesecsscssesesseeeseessececceseesaeeseecsecesassssssesesessaessssacesaseaeesseeaeeaeeeeeaeeseeees 1
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I. FACTS

On October 18, 2016, Complainant began work as the Senior Manager for the U.S. Regional
Compliance Team for MoneyGram International. As Senior Manager for Regional Compliance for
the abovementioned territory, Complainant was responsible for supervising MoneyGram’s
compliance officers and managers within his same territory, who, in turn, were responsible for

measuring agents’ compliance, anti-fraud and anti-money laundering programs and providing

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training and awareness initiatives. Complainant was also responsible for driving MoneyGram’s
agents to implement or enhance compliance, anti-fraud and anti-money laundering policies and
procedures and assisted in the development of same as required. Complainant worked under the
direction of Juan Manuel Gonzalez, Head of Compliance for the Americas division of MoneyGram.

Shortly after starting his position at MoneyGram, Complainant began observing
improprieties in MoneyGram’s anti-fraud and anti-money laundering programs involving several
small and large agents who utilize MoneyGram’s services, including Walmart Stores, Inc.,
Albertsons Companies, LLC, Circle K Stores, Inc., CVS Caremark Corp., Supervalu, and Schnuck
Markets, Inc. Specifically, in January 2017, Complainant notified Peter Green, Gonzalez’s
supervisor and Head of Regional Compliance of the Americas and Europe division of MoneyGram,
that Gonzalez was failing to answer Complainant’s emails regarding significant vulnerabilities with
the agent oversight program. Peter Green expressed concern regarding these vulnerabilities, but
nothing is done to remediate these vulnerabilities.

Complainant also notified Gonzalez in January 2017 of the need to add known fraudsters
and money launderers to the “Individual Watch List” (hereinafter “IWL” to remove the ability of
said to initiate transactions at the point of sale. Complainant notified Gonzalez that the IWL
program was ineffective operating in its current state. Gonzalez failed to respond to or even
acknowledge Complainant’s email notifying him of such activity.

In February 2017, Gonzalez warned Complainant not to put deficiencies of compliance
requirements in writing. This sanie month Complainant warned Gonzalez that the compliance team
he managed was not “mission ready,” and reported to Gonzalez that MoneyGram sales personnel
had the capability to override compliance requirements and were doing so on a regular basis.

In March 2017, Complainant met with an employee of Freshfields, Bruckhaus Deringer,

LLP, (“Freshfields”) regarding irregularities with the anti-fraud/anti-money laundering compliance

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program within MoneyGram. Complainant also brought these same concerns regarding
irregularities in MoneyGram’s Compliance Program to the attention of Chris Ponder, Director of
Human Resources for the Compliance Department of MoneyGram. Ponder refused to investigate
Complainant’s claims of ethical violations on the part of Gonzalez, and subsequently criticized
Complainant for his lack of deference to Gonzalez. At this point, Complainant notified the Legal
Department within MoneyGram of his concerns regarding ethical violations. On March 22, 2017,
Complainant reported to Phil Underwood, a monitor with Freshfields of significant vulnerabilities
with the Southwest Border and China Corridor Programs of MoneyGram after MoneyGram’s agent
Yanni Garden was arrested for laundering a significant amount of money.

On March 23, 2017 Complainant sent a message to Gonzalez expressing great concern for
the current state of the Strategic Account Oversight Program based on his determinations after
investigating its Supervalu stores. On March 24, 2017, Complainant requested permission to
suspend 13 Supervalu stores with unknown majority ownership. Gonzalez denied Complainant’s
requests. On March 28, 2017 Complainant notified MoneyGram’s Legal Department with
regarding the failure of the Strategic Account Oversight Program and thereafter was told by the
Legal Department that the 13 Supervalu stores in question needed to be suspended. On March 31,
2017 Complainant received a phone call from Gonzalez whereby Gonzalez expressed his disdain
toward Complainant for notifying the Legal Department as to the failure of the Strategic Account
Oversight Program in relation the aforementioned 13 Supervalu stores. In that same conversation,
Gonzalez notified Complainant that Complainant was not going to work out as one of Gonzalez’s
managers.

On April 4, 2017 Gonzalez terminated Complainant, citing that Complainant was “not a

good cultural fit.”

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I. CAST OF CHARACTERS

The following individuals have personal knowledge of relevant issues herein:

Aaron Mareu: Monitor (partner at Freshfields); who had 11 attorneys with responsibility for
monitoring DPA.

Alan Brooks: Recruiter; Complainant complained to him about Juan Manual Gonzalez, he told
Complainant he was not the first to complain and recommended that he speak with Chris Ponder.

Andres Cruz: Human Resources employee assigned to Complainant’s team.
Andy Villarreal: Chief Compliance Officer for MoneyGram.
Ashley MacMillan: Manager, Regional Compliance (Canada).

Benito Romano: Partner at Freshfields. Worked for Marcu; in charge of MoneyGram monitorship
day-to-day operations.

Chris Ponder, II: Director HR. Complainant reported some of Gonzalez’s unethical behavior to
him; he never initiated an investigation. Ponder was involved in Complainant’s termination.

Craig Bernier: Head of Compliance Monitoring, Financial Intelligence Unit (hereinafter “FIU”).
Complainant spoke to him about IWL problems and problems with reaction times; Bernier said they
were tracking problems but the technology used was not adequate to fix the problem.

Dayna Karel: Head of Vertical Sales for MoneyGram. Karel often clashed with Complainant over
compliance issues; pressured RCO on Complainant’s team to reopen stores before they were ready
to do so. Karel was responsible for the Supervalu stores.

Derya White: One of the Complainant’s direct reports, and the Senior RCO in charge of the
Supervalu account.

Domh Jacir Leandro: Manager, Regional Compliance; responsible for the Walmart relationship.
He was Complainant’s direct supervisor when Complainant first started. Leandro told Complainant
that HR was helping him get his green card by insuring that no U.S. candidate ended up as a finalist
for the job posting of the position for which he held with a temporary work visa.

Eddie Ponce: Director for Government Reporting MoneyGram, close adviser to Andy Villarreal
and the nemesis of Gonzalez. Ponce found systemic problems with the agent oversight program that
Gonzalez was running and subsequently informed Villarreal of same.

Eli Morillo: Head of Global Programs (Compliance).

Freddy Morales: Supervisor for terminations and suspensions in the Global Back Office. He is
willing to testify on Complainant’s behalf.

John Tyson: Assistant General Counsel for MoneyGram, Regulatory Affairs. Tyson was a close
personal friend with Gonzalez. Attempted to manufacture falsehood that Complainant had

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misrepresented the facts in order to get an opinion.

Johnny Rosario: Head of Sales North Region; in charge of Corporate Store. During the New York
trip, he was the individual to whom Complainant reported that one of his [Rosario] sales managers
was harassing Sylvia Gil for doing her job.

Juan Manuel Gonzalez: Head of Regional Compliance for the Americas, Complainant’s immediate
supervisor at time of termination.

Lazlo Kallai: One of the Complainant’s direct reports, and the RCO in charge of Walmart account.
He was also in charge of Schnuck Markets account when we received a strongly worded email from
Pam Mueller, Schnucks’ assigned Compliance person, accusing MoneyGram of not doing anything
to block fraudsters. In response, Lazlo told her to not contact the FBI for a few days — guidance that,
upon discovering, Complainant corrected immediately.

Lea Pfeifer: Attorney for MoneyGram to whom Complainant reported problems with the Supervalu
account, after which she called Tyson to explain the situation. She was the main contact with whom
Complainant spoke to about the problem, and the individual who reached out to Gonzalez to request
an explanation.

Lily Duenas: Supervisor of the Compliance (Rules Team). Worked with Derek McMillan (Senior
Director of Compliance). Found out about [WL mistake that lead to 3,000 known fraudsters not
being blocked.

Manuel Gaico: Senior RCO in charge of corporate stores. Informed Complainant about significant
problems with data integrity at the MoneyGram-run stores.

Pablo Rivera: One of Complainant’s direct reports, and the Senior RCO in charge of the CVS
account; experienced firsthand the irregularities with CVS stores caused by a lack of proper
reporting.

Pam Mueller: Compliance for Schnuck Markets. Sent email to Kalloi and Complainant accusing
MoneyGram of not blocking fraudsters in WL.

Peter Green: Head of Regional Compliance Americas and Europe.
Phil Underwood: Monitor team attorney with whom Complainant met in Miami.

Silvia Gil: Regional Compliance Officer (RCO), based out of NYC. One of Complainant’s direct
reports. She is willing to testify on Complainant’s behalf.

Thomas Haider: Former compliance officer; prosecuted and made guilty plea.

Tom Moch: Worked for Dayna Karel in the Sales Department. Responsible for the Supervalu
relationship. Attended meeting in Minneapolis with Karel.

Ii. FADLURE TO COMPLY WITH DPA

At the time of the imposition of the DPA (November 2012), MoneyGram made the

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following public statements to investors regarding its intention to clean up its illegal practices.
In the intervening 5 years, little substantive progress has been achieved here. Complainant has
firsthand knowledge of the following deficiencies:

MoneyGram Statement | op
regarding remedial

 

|

|
| measures (as of November 9, | Reality Notes |
| 2012) | / — |
| Agreed to the appointment of — Internal discussions within Gonzalez bragged about not
_ an independent compliance _ MoneyGram concern ways to _ telling Monitor about Walmart
| Monitor. ' mislead the Monitor team; visit to Frisco, tells his

| | many Senior leaders are upset | managers and compliance

| that the Monitor is being hard | officers to take advantage of
| -onthem and make comments __ the fact that the Monitor’s

| | that send the message that we team does not speak Spanish
_ need to be careful about the _ so that they can “shape the
information we share with the | message,” when they are

 

 

| Monitor. i translating forthem.

| Terminated relationships with | MoneyGram continues to Supervalu had 13 stores that
| | agents suspected to be | apply its compliance program were not being tracked by
| involved in consumer fraud | selectively, allowing some _ their compliance department; |
_ related to the MDPA and US | large volume agents like instead of immediately |
DOJ investigation and aided in | Supervalu to remain active _ suspending them, MoneyGram _
_ the prosecution of agents | despite not having effective allowed them to operate even
_ involved in criminal activities. | compliance programs while | | when they knew nothing about
| _ showing highest levels of _ them.
| _ consumer fraud in the
| network. te . |
Paid $18 million as part of an | MoneyGram continues to | Supervalu stores in Maryland
_ agreement with the Federal allow agents with higher than | were briefly suspended, Dayna |
Trade Commission in October | average fraudulent activity to | Karrel, Senior Leader in Sales,
| of 2009, pursuant to which the | remain active, and when | put tremendous amount of

_ FTC distributed the funds to suspended, they quickly | pressure on compliance

| consumers who were victims | unsuspend them and the cycle _ officers to get stores reopened. |

| of the consumer fraud starts again,

 

 

 

 

| perpetrated

| through MoneyGramagents, sess
_ Overhauled its global | MoneyGram did rebuild its | When Complainant left, the

_ compliance, anti-money | program, but it continues to person that replaced him was a

| laundering and anti-fraud promote a culture in which the | loyalist Gonzalez.

| organization with a focus on sales team has the authority to | MoneyGram also fired Ilan

_ building a more pressure compliance officers | Heller and brought in a former |
comprehensive compliance- into changing their decisions | employee that they knew |
_ based culture. The Chief _ to suspend stores and _ would be a “yes man.”

_ Compliance Officer has the managers in agent oversight | Another contributing factor is _
_ authority to section of compliance are too __ that the technology utilized for |

“terminate MoneyGram agents willing to give large agents the | the anti-money laundering

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MoneyGram Statement
regarding remedial
measures (as of November 9,

2012)

|
|
|
|
|

Reality

94

| Notes

|

 

for fraud or money-laundering
concerns.

Created two new executive-
level positions with
responsibility for enhancing
efforts to combat consumer
fraud, fostering cooperation
with law enforcement,
enhancing interaction with
US. and International
regulators and enhancing
MoneyGram’s compliance
systems.

Bolstered global compliance
and risk management
procedures by implementing a
_ risk-based agent audit
| program which includes the
| implementation of a new anti-
| fraud alert system and a
| financial intelligence unit both
| of which are responsible for
| monitoring transactions and
_agent behavior. _

 

| Implemented a new agent /
| training program that provides
_ information on the types of

| consumer fraud scams as well
_ as how to detect, prevent,
| report and handle suspicious

| transactions.

|
|
|
|
|
|

__ eyes on the ground

 

benefit of the doubt which
allows these agents to
continue to operate without
having a good system in place.

Yes, but the Chief Compliance

Officer, Andy Villarreal,
openly expresses frustration
over the Monitor’s negative
findings and has suggested
that that he will stop “opening
the books to them.” He also
hires his friends to work at
MoneyGram, (such as Kyle
Deblock) many of whom are
completely unqualified for

their positions and on occasion

openly disparaged the efforts

of agent oversight personnel. _

People from different regions
do not effectively
communicate, if high fraud
activity is happening in China,
the China corridor compliance

| officers in the US do not speak

to their counterparts in China.
FIU does a good job but they
also need agent oversight
personnel to step up and have
This only covers a very small
portion of agents and it does
not really force large agents to

_ change their ways. The

exception is Walmart, who is
suspected of developing its
own money transfer business,
and as a result, is
strengthening their own
compliance programs. Stores
including Supervalu and CVS

are not being pushed as they |

Juan Lozada-Leoni’s Original Complaint

program is out of date and
essentially useless, and despite
this being widely |
acknowledged within the |
company, it remains
unaddressed,
The compliance team under
Andy’s leadership is

dysfunctional and territorial.

|

 

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|
|
|

|

|

| Gonzalez continues to pretend
_ that everything is running as it |
_ should, yet has no China

| Corridor program and the

| Southwest program lost its
| main architect.

|

Training is woefully deficient; —
electronic modules are not
effective. Many agents have
completely failed to comply
with the training.

 

|
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MoneyGram Statement |
regarding remedial

|
|
|
|

 

 

 

| measures (as of November 9,
| 2012)
_ should be in terms of meeting
| strict compliance
requirements,
Strengthened partnerships This has happened to some |
with law enforcement globally | extent; Complainant does
to assist in the investigation know that FIU works very
and prosecution of money closely with law enforcement
laundering, fraud and other and they have achieved some
matters. In the U.S., those success.
agencies include the Federal
Bureau of Investigation, U.S. |
_ Immigration & Customs
| Enforcement, U.S. Marshals
"Service, Drug Enforcement

 

Agency, U.S. Secret Service,
and U.S. Postal Service. foe

 

IV. SPECIFIC VIOLATIONS OF THE DPA

Complainant noted the following specific breakdowns and willful violations of the DPA
during the six months that he was employed at MoneyGram (note: not a complete list):

 

 

November 2016 ......cceccccscsscesseseesseseesseessesees 8 February 17, 2017 ......eecceesescessesseeseeseeeeeens 11
November 2016, Ongoing ...........:csceceeeeeees 9 February 21, 2017 .....ccccecceccceseeseeeseseceeeeees 11
January 17, 2017... ceeeccesecsccsseeseeseesseeseeseeeees 9 Late February/Early March 2017.............4. 11
January 21, ZOU 7 ssssciesanaesnpeamansengevecesess 9 Early March 2017 ......csceseeceesseeceseeseeeeeens 11
Approximately February 2017, Ongoing.......9 Marchi 27, 2017 sccsasccmbyrsvamennsamepen genes 11
Approximately February 2017, Ongoing.....10 March 22, 2017 .....cceecsccssssecssesseesseneeeseeees 12
February 2017... .ccccceccsecssccsseesseeseeessseeneeees 10 March 23, 2017, Ongoing... eeeeeeeseeees 12
February 2017.0... ceccecccsceceessecseeseeeseeeeeeeeaees 10 March 31, 2017 oo... eeesceseeseceseteeeeeeeeseeeees 12
Februaty 12-18, 2017 sssssvsssaimecasancnnnans 10

November 2016

| Event Specifics Internal Complaint? | Notes |

|

| }

November 2016 | Walmart meetingin | Yes Gonzalez bragged to

| Frisco, Texas Morillo that he |

| | hoodwinked the

| | Monitor by excluding |

| | said Monitor froma

meeting with the |

| oo largest client, a direct

 

 

 

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violation of © |
MoneyGram’s |
specific DPA |
| | agreement.

 

November 2016, Ongoing

 

 

Event | Specifics | Internal Complaint? Notes
Ongoing (beginning | Issues with Domh Yes; Gonzalez, Leandro was
November 2016) Leandro, Manager, Morillo continually overruled
Regional Compliance Sylvia Gil’s
recommendations,

was insubordinate to
Complainant when
under his
management, was
consistently
noncompliant with |
QA protocol, and was |
noncompliant with
company rules |
regarding appraisals. _

 

|

 

 

 

 

 

January 17, 2017

 

 

 

| Event _ | Specifics Internal Complaint? | Notes == sid
| January 17, 2017 | Significant flow with Yes; Gonzalez No response |
| ae | IWL program BS |

 

 

January 21, 2017

 

 

 

‘Event = —sS Specifics. =—=———SsInternal Complaint? | Notes
January 21, 2017 Vulnerabilities of Yes |
Delta Works System oe ee

 

 

 

Approximately February 2017, Ongoing

 

 

| Event Specifics | Internal Complaint? | Notes
Approximately Ineffective appraisal Yes “Appraisal process is
February 2017, process designed to promote
| Ongoing loyalty to Juan
Manuel

company values or a
culture of

| Gonzalez, not
| _ compliance,

 

 

 

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[Gonzalez] has
resisted attempts to
follow the company's
appraisal process
without

any repercussions”

| [Email from Lozada-
| Leoni to Phil
Underwood,
Monitor]

 

 

 

 

 

 

 

| Event | Specifics | Internal Complaint? | Notes |

| Approximately | Ineffective Yes | |

_ February 2017, supervision of | | |
i |

. |
compliance officers

 

February 2017

 

 

 

 

 

 

 

 

 

 

| Event | Specifics | Internal Complaint? | Notes |
| February 2017 Gonzalez instructed Yes, to Alan Brooks, | Brooks recommended |
| | all RCO and | Senior Recruiter Complainant bring
| | managers “don’t put | his concerns to the |
anything in emails.” | | attention of Chris |
| _ Ponder as soon as |
a possible
February 2017
| Event Specifics Internal Complaint? | Notes
_ February 2017 Sales people had the Yes
_ authority capability
_and to override
| ' compliance |
requirements,
February 12-18, 2017
| Event | Specifics | Internal Complaint? | Notes / |
_ NYC Hilton meeting | Some agents were | Yes | Hindered ability of |
| _ unable to effectively agents tosendSAR |
| communicate in reports (suspicious |
_ English. _ activity reports); |
| | oo ___ Gonzalez appeared
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uninterested, wanted |
i toignoren

 

February 17, 2017

 

 

 

 

 

 

 

 

 

 

 

 

Event Specifics Internal Complaint? | Notes |
February 17, 2017 Beginning of Circle | Yes; Gonzalez, | |
KK problems, | Morilo
February 21, 2017
| Event Specifics Internal Complaint? | Notes
_ February 21, 2017 High turnover rate Yes; Gonzalez Retaliation; one-on-
| thwarted compliance one reprimand
I —withDPAL meeting
Late February/EKarly March 2017
Event Specifics Internal Complaint? | Notes
Miami Monitor present; ' Retaliation; one-on- |
meeting/PowerPoint prior to _ one reprimand |
presentation Complainant’ s | meeting. |
scheduled |
presentation,
Gonzalez instructed |
Complainant to |
remove information
that would alert
Monitor to | |
fo deficiencies re DPA . “ | |

 

 

 

 

Early March 2017

 

| Event | Specifics Internal Complaint? | Notes |
During Miami trip | Eddie Ponce issue; Yes. Gonzalez instructed
Ponce frozen out, Complainant to

denied crucial withhold key |

information by information from |

| Gonzalez. - Ponce. |

 

 

 

 

March 22, 2017

 

 

 

 

 

Event Specifics | Internal Complaint? | Notes |
March 22, 2017 Beginning of China Yes; Gonzalez,
Corridor problems. | Morillo a - |

 

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March 22, 2017

 

| Event Specifics Internal Complaint? | | Notes |

March 22, 2017 Vulnerabilities of Yes | Alerted Phil |
China corridor | Underwood with |
| program (Yanni | Monitor. |
Co Garde) |

 

 

 

‘Event | Specifics | Internal Complaint? | Notes |

| March 23, 2017, Beginning of | Gonzalez, Juan | |

| Ongoing Supervalu problem. | Noguera, Morillo, | |
- ae | ete. |

 

 

March 31, 2017

 

| Event | Specifics | Internal Complaint? | Notes |
| March 31, 2017 Restricted access to Yes; taken off | |
| legal | Supervalu account; |
| resulted in | |
| | termination. — | _|

 

V. COMPLAINANT’S PROTECTED ACTIVITY,
RESPONDENT’S ADVERSE AND RETALIATORY

 

 

 

 

ACTIONS

Approximately November 2016............... 12 February 21, 2017, Ongoing ........... eee 16
Approximately November 2016................ 13 February 2017, Ongoing ............:ccseeeeees 16
Approximately November 2016, Ongoing 13 March 1, 2017 ooo. eeesseeeesceeseeseeeeeeeeees 16
January 2017 ..cccceccessesseseeseeseesseeeeseeesees 13 March 15, 2017 .....cececcesceeseesseseesseeseenseees 17
Jarrairy 24, 2017 ssvsecanesssmsancaassanasncancasa canons 14 March 24, 2007 sscescssessnyohenanentindavicmnongs 17
January 31 2017 oo. eccceccessesseessseeneeesees 14 Martel: 29; 2017 sccnccsnasnssessnmasanamees 18
Approximately February 2017, Ongoing... 14 March 30, 2017 oo. eeeseeseeeeseceeeseeeeeseeaeeees 18
Approximately February 2017, Ongoing... 15 March 31, 2017, After rebuttal of one-on-
February 12-18, 2018, Ongoing................ 15 one reprimand meeting.......... cs eeeeeeeeeeees 18
February 12-18, 2017, Ongoing................ 16 March 31, 2017 oc. ceecesceeeeseeceseessesseeenes 18
February 16, 2017, Ongoing ..............06 16 April 4, 2OUT sccccesovesncumaavessaumsnnsamasaaens 19
February 16, 2017 cc ccceceseeseeseeseeeteeeees 16
Approximately November 2016 '
| Event _Reported to Detail | Adverse action
| During aconference | Kyle Deblock, Head | Deblock appeared | | Began to feel cold

call with | of Compliance; annoyed at | shoulder from Kyle
approximately 100 —_sInfrastructure (under | Complainant for _ | Deblock. Thereafter _

 

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individuals,
Complainant
indicated problems
associated with
MoneyGram’s call
center handling fraud
complaint.

 

| Andy Villareal), who
was in this call.

 

 

Approximately November 2016

Event _

| Reported to

—

suggesting that the
MoneyGram call
center needed to
attempt to collect
additional
information from
callers identified as
potential fraudsters;
Complainant pointed
out that this is what
compliance was
telling MoneyGram

agentstodo.

Detail

“lost access” to him.

 

Adverse action

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During a conference
call, Complainant
told informed
Gonzalez that the
termination of
Claudia Raskey, an
RCO, needed to be
reported to the
Monitor ASAP;
Complainant also
warned about Ilan
Heller and Domh
Leandro, as they had
allowed Claudia
Raskey to fabricate
_data for her reports.

 

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i

Gonzalez

 

 

Approximately November 2016, Ongoing

[ Event
Complainant felt that
his team was not
“mission ready,” and
would be ineffective
| at DPA compliance.

 

\

 

Reported to
Gonzalez, also, Eli
Morillo, Head of |
Global Programs
(Compliance)

 

 

 

January 2017

Event _

_| Reported to

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Gonzalez took no
action against Heller
or Leandro and told
Complainant to not

_ tell Monitor that
| Raskey had been

fired.

Detail

turnover rate.

Detail

Complainant insisted
that under the DPA,
the firing needed to
be reported to the
Monitor; Gonzalez

_ acted annoyed with
Complainant.

 

| Adverse action

| This was due to high | One-on-one

| reprimand meeting.

| Adverse action

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Peter Green, Head of
Regional Compliance
Americas and Europe

Complainant’s email
correspondence to
Gonzalez regarding
significant
vulnerabilities

| regarding agent

| oversight program

| were left

_ unacknowledged and

|
“unanswered, | |

 

 

 

January 24, 2017

Green initially
seemed responsive
and concerned.

 

 

Was completely
ignored thereafter by
Green, no change in
responsiveness of
Gonzalez

 

 

 

 

 

 

 

| Event Reported to | Detail Adverse action |
| Complainant’s team | Gonzalez | Complainant’s email | No response. |
| was experiencing | correspondence to |
_ significant problems | Gonzalez were left |
| with large agent data unacknowledged and |
_ integrity, caused by | unanswered. |
problems with | |
MoneyGram’s Delta | | |
Works technology, se |
January 31, 2017
Event Reported to | Detail Adverse action
| Mandatory meeting | Phil Underwood, Gonzalez instructed No change.
| (reported March 1, | Freshfields | RCOs not to record
| problems with agent

2017) |

Approximately February 2017, Ongoing

____ for evidence.

_ oversight in writing

_ so that the Monitor

| would be unable to
request those emails

 

 

 

| Event Reported to Detail | Adverse action
| Lily Duenas informed Gonzalez Reported that Lily | No response.
Complainant of | Duenas had informed _

backlog of names that | Complainant that |

needed to be entered

| |
| |
| into the WL system. |
|

| |

Juan Lozada-Leoni’s Original Complaint

entered properly into
IWL system,
__ allowing bad actors _

 

3,000 names were not

|
|
|

|

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Approximately February 2017, Ongoing

 

Event

Reported to

to continue
transacting and
committing fraud for
three months before
she noticed the issue.
The section running
IWL did not notice
the issue for three
months and only
became aware after

 

Detail

|
|

 

__ Duenas told them.

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dverse action

 

MoneyGram was not
honoring block
request for Schnucks.

 

 

Gonzalez and Juan
Noguera

 

Reported that Sheryl
Stanhope, the store
auditor from Schnuck
wrote a message
informing
Compliance that
MoneyGram was not
honoring block
request, and as a
result, fraudsters
continued to use

 

)
|
|
|
|

|
|
|

A
No response.

 

Schnuck to defraud
Po customers. a :
February 12-18, 2018, Ongoing
‘Event __ |Reportedto —s| Detail = =—_—| Adverseaction —_—if
NYC trip Gonzalez Subordinates of No response, overall |
Complainant (RCOs | tone when interacting |
assigned to NYC) with Complainant

 

 

Juan Lozada-Leoni’s Original Complaint

confirmed that some
agents were unable to
effectively
communicate in
English, meaning
they could not file
SARs with FINCEN,
which was an
important part of
MoneyGram’s

 

 

___ compliance program. |

shifted to annoyance.

 

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February 12-18, 2017, Ongoing

 

Event Reported to

Detail

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Adverse action

 

NYC trip Gonzalez.

 

Sales was attempting
to sabotage the work
of one of

 

Change in behavior
on the part of
Gonzalez, also

 

 

 

 

 

 

 

 

 

 

 

| Complainant’s addressed in one-on-

| RCO’s, Sylvia Gil. one reprimand
Po a _ ___| meeting. |
February 16, 2017, Ongoing

[Event —Ss Reportedto ~=——| Detail —_ Adverse action —__
| Hilton hotel bar Gonzalez, Johnny Inappropriate One-on-one

| meeting Rosario (Head of pressure from Sales. | reprimand meeting.

| | Sales & Account

| Management North

[ — | Region
February 16, 2017

‘Event = ~—*(| Reportedto ~=—| ‘Detail «~=—S—S—SsAdverseaction —
' Hilton hotel bar Gonzalez, Green, 5 Sarah Osmani One-on-one

| meeting RCO’s from issues; Complainant’s reprimand meeting,

| Complainant’s team

|

 

subordinate who
became very upset
when given criticism

 

 

 

|
|
cold shoulder from |
Gonzalez. |

|

 

 

 

 

 

 

 

 

 

 

 

 

 

Po by Complainant. oo
February 21, 2017, Ongoing
‘Event —sSs Reported to Detail _ Adverse action
| February 21, 2017 Gonzalez NYC meeting issues; | One-on-one |
Po e.g., Silvia Gil. _ reprimand meeting. _
February 2017, Ongoing
‘Event ——sSs Reported to __| Detail | Adverse action ——__
| Teleconference | Gonzalez Significant problems | One-on-one

with Southwest | reprimand meeting,
| | Border and China cold shoulder from
Po 7 Corridor programs. | Gonzalez,
March 1, 2017
‘Event = —~—| Reportedto =——siDetail’ «= Adverseaction |

 

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Meeting with Phil Underwood,
Monitor during Monitor

Miami RCO

conference

 

 

 

Problems with IWL |

program, Gonzalez
hiding Walmart
meeting from
Monitor and boasting
about it, lack of
oversight of financial
institutions, Gonzalez
telling the Latin
American team to
“shape the message”
whenever they were

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Green and Gonzalez |
saw Complainant

speaking with Phil;
later questioned him |
at length as to the |
nature of the |
conversation, and |
thereafter acted |
suspiciously around |
Complainant.

 

 

in Spanish-speaking
_ countries with
| Monitor team
members who did not | |
speak Spanish, also |
reported that RCO
team was 30%
hae ep cunderstrength, |
March 15, 2017
Complainant’s rebuttal of one-on-one meeting.
March 24, 2017
Event Reportedto ——| Detail, = Addverseaction —__
Trip to Minneapolis | Gonzalez _ Complainant found | Significant loss in |
for Supervalu HQ the following communication; |
Review deficiencies: Gonzalez indicated
Significant problems that due to a “lack of |

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ns ae

Juan Lozada-Leoni’s Original Complaint

 

with agent oversight
program for strategic
agents.

Supervalu had not
had an independent
review for years.
MoneyGram was not
tracking around 13
minority-owned
stores for compliance
purposes.

Gonzalez was furious
with Complainant for

_| putting his concerns _

transparency,”
Complainant could
no longer be trusted, |
and Complainant was |
eventually
terminated.

 

104

 
 

March 29, 2017

| Event

 

Reported to

| in writing.
{

Ponce said he would
inform Villareal
Morillo was furious
with Gonzalez for
letting this happen
front of the monitor’s
team (which had sent

a lawyer to sit in with

 

Detail |

_ourHQreview

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Adverse action

 

_ Request for legal
| opinion

John Tyson, Vice
President Associate
& General Counsel

 

Complainant asked
for legal opinion
regarding his request
to suspend 13
Supervalu stores.

 

Accused of
misrepresentation by
Tyson on
approximately April
3, 2017.

 

 

 

March 30, 2017

 

 

| Event Reported to | Detail Adverse action |
Request for Chris Ponder, | Complainant asked Ponder refused, |
_ investigation into Director of Human | Ponder to commence _ chastised |
possible ethics | Resources _ an investigation into | Complainant for lack |
_ violations | Gonzalez’s potential — of deference. |
Po ____ ethical violations. |

 

March 31, 2017, After rebuttal of one-on-one reprimand meeting

 

 

 

 

| Event Reported to | Detail | Adverse action |
| Gonzalez indicated | | Gonzalez stated that | Significant loss in |
that he would like to | he would not respond | communication;
' discuss | | in writing. | Gonzalez indicated |
Complainant’ s | | | that due to a “lack of |
_ rebuttal to Gonzalez’s | | transparency,” |
| criticisms. | | _ Complainant could |
| fp __ no longer be trusted. _
March 31, 2017

| Event | Reported to | Detail _ Adverse action |
Complainant = Gonzalez Questioned | Removed from

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questioned Supervalu | | Supervalu strategy. | Supervalu account.
strategy at | - —
April 4, 2017

‘Event § +|Reportedto §=—*~(|~‘Detail «=—Ssé‘i«‘C*™s«SAeerrseccttion

 

t |
| - Complainant |
| | terminated; reason |
| _ given was that he was _
| | “not a good cultural

fit

VI. FIRST CAUSE OF ACTION
Violation of the Sarbanes-Oxley Act of 2002, 18 U.S.C. §
1514A

Complainant subjectively believed the conduct on which he “blew the whistle” was a
violation of an enumerated provision of Section 806 of SOX and his belief was objectively
reasonable “based on the knowledge available to a reasonable person in the same factual
circumstances with the same training and experience as the aggrieved employee.”

Respondent continuously failed to maintain an effective anti-money laundering program
in violation of the Bank Secrecy Act and other federal anti-money laundering statutes; and

Respondent violated the terms of the November 2012 Deferred Prosecution Agreement
with the Department of Justice; and

Respondent made material misrepresentations to shareholders regarding MoneyGram’s
effective compliance regarding the above.

Respondent violated the Sarbanes-Oxley Act of 2002, 18 U.S.C. § 1514A, by taking
adverse employment actions against Complainant, including, but not limited to, termination, in
retaliation for Complainant's lawful conduct in opposing MoneyGram’s continued violation of
various federal statutes, its failure to comply with the November 2012 DPA, and its material

misrepresentations to shareholders regarding the above.

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VII. FACTS AND LEGAL ISSUES STILL IN DISPUTE

Facts and legal issues that remain in dispute:

1. Is there a legitimate, nonretaliatory basis for any adverse employment action taken
against the Complainant?

2. Can MoneyGram prove through clear and convincing evidence that the same
adverse employment action would have been taken in the absence of any whistleblower activity?

With regard to Complainant’s allegations of overall noncompliance with the DPA:

3. Was there a reasonable basis for MoneyGram’s various defensive positions here?

4. Notwithstanding the above, did Complainant have a good faith basis for his
articulated concerns?

5. Was Complainant’s belief objectively reasonable “based on the knowledge available
to a reasonable person in the same factual circumstances with the same training and experience”
as Complainant?

6. Was Complainant subjected to any of the following?

On-the-job harassment;
Verbal abuse;
Isolation;

Marginalization; and/or
Pretextual performance evaluations.

gaeoc8

7.  Ifso, were any of this retaliatory in nature?

8. Ifo, did any of the retaliatory conduct qualify for SOX protection?

9. Was the “one-on-one” meeting on February 21, 2017 with Gonzalez an adverse
action that qualified for SOX rtetection?

10. Was Complainant subjected to unlawful SOX retaliation as a result his March 15,

2017 email rebuttal to Gonzalez regarding Gonzalez’s criticisms in the earlier “one-on-one”

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meeting?

11. Starting with the March 1, 2017 report to the Monitor, were any of Complainant’s
reports to the Monitor followed by adverse action that qualified for SOX protection?

12. Was the March 31, 2017 telephone call from Gonzalez to Complainant [indicating
he would “not work out”] an adverse action that qualified for SOX protection?

13. Was Gonzalez’s March 31, 2017 removal of Complainant from the Supervalu
account an adverse action that qualified for SOX protection?

14. Was Ponder’s April 3, 2017 refusal to investigate Gonzalez’s conduct an adverse
action that qualified for SOX protection?

15. Was the April 3, 2017 Tyson conversation and accusation of misrepresentations on
Complainant’s part an adverse action that qualified for SOX protection?

16. Was Complainant’s termination on April 4, 2017 SOX-protected?

VIM. RELIEF SOUGHT ON THE PART OF COMPLAINANT
A prevailing SOX whistleblower is entitled to “all relief necessary to make the employee

whole,” which, in Complainant’s case, includes the following:

e Back pay (lost wages and benefits);

e Reinstatement with the same seniority that the employee would have had, were it not
for the retaliation;

e Alternatively; front pay in lieu of reinstatement;
Special damages (damages for impairment of reputation, personal humiliation, mental
anguish and suffering, and other noneconomic harm that results from retaliation); and
e Attorney’s fees, and costs.
(Items 1 & 3, less amounts earned in mitigation since date of termination on April 4,
2017). '
IX. GOOD FAITH EFFORT OF COMMUNICATION

The undersigned hereby indicates that good faith efforts have been made to resolve

outstanding factual and legal issues.

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X. COMPLAINANT’S ADMINISTRATIVE COMPLAINT
FILED WITH OSHA.

Complainant’s administrative complaint filed with the Occupational Safety and Health

Administration on September 28, 2017 is attached hereto as Exhibit A.

Respectfully submitted,
/s/ Steve Kardell

Steve Kardell

State Bar No. 11098400
skardell@kardelllawgroup.com
KARDELL LAW GROUP

4514 Cole Avenue, Suite 600
Dallas, Texas 75205
Telephone: (214) 616-4654
Facsimile: (469) 729-9926

ATTORNEY FOR COMPLAINANT

CERTIFICATE OF SERVICE

I hereby certify that the foregoing document has been served via hand delivery on all
counsel of record on March 5, 2018.

/s/ Steve Kardell

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KARDELL | LAW GROUP

4514 Cole Avenue, Suite 600 STEVE KARDELL

Dallas, Texas 75205 2017 SEP 2 8 PM 12: 0 | j Oe ‘aah nee
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o < Writer’s Phone: (214) 306-8045
\ fo waiters E-Mail:
(wa OR Reclnet skardell@kardelllaweroup.com
( Website:

www.dallaswhistleblowerlawver.com

 

September 28, 2017
Kelly Knighton CI Via Overnight
Region 6 Administrator LJ Via Regular Mail
OSHA MI Via Hand Delivery
A. Maceo Smith Federal Building C1 Via Fax
525 Griffin St., Suite 602 QO) Via E-Mail: kelly.knighton@osha.gov

Dallas, TX 75202

RE: Complaint under Section 806 of SOX.

Juan Lozada-Leoni v. MoneyGram International

Dear Ms. Knighton:

Please process the following as a formal complaint under Section 806 of the Sarbanes-Oxley
Act of 2002, as amended.

A. Statute:

Section 806 protects, of course, employees of publicly-traded companies (and subsidiaries of
same) from retaliation when they complain and "reasonably believe” (that the complained-of conduct)
constitutes a violation of one of six federal laws, e.g., Sections 1341, 1343, 1344, or 1348, any rule or
regulation of the [SEC], or any provision of federal law relating to fraud against shareholders.
Sarbanes-Oxley Act of 2002, 806(a), 18 U.S.C. 1514 A (a)(1) (2006).

 

 

B. Parties:
Complainant Respondent
Juan Lozada-Leoni MoneyGram International
5800 Brodie Ln. , 2828 N Harwood St., #15
Apt 836 Dallas, TX 75201
Austin, TX 78745 Office: (214) 999-7552
Cell: (210) 995-3782

 

 

 

 

Cc, Facts:

Complainant was hired on October 18, 2016

 
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His job title was Manager, AML/CTF Regional Compliance USA.

Two of his essential responsibilities were (1) compliance with anti-money laundering rules and
regulations; and (2) compliance with a consent decree that required, infer alia, compliance with anti-
money laundering rules and regulations.

In a scenario that is becoming increasingly predictable,' his efforts to achieve compliance were
met with (1) resistance; (2) outright hostility, and (3) finally resulted in his termination on April 4,
2017.

D. Protected conduct:

This is essentially a Sharkey v. JP Morgan Chase case,” with one additional twist: on top of
violating the underlying anti-money laundering laws, the employer here violated an existing consent
decree that prohibited future violations of the underlying anti-money laundering laws. (Emphasis
added).

KE. Tangible adverse employment action:

In addition to on-the-job harassment, verbal abuse, isolation, and marginalization,
complainant’s termination on April 4, 2017.

KF, Last date of alleged retaliatory action (for SOL filing purposes):
April 4, 2017.
G. Corporate service to be made on:

See Certificate of Service, below.
Further details will be subsequently provided.

Please send us your standard acknowledgement of receipt here.

 

' Corporate Counsel Magazine recently quoted a local (employment law) luminary — the redoubtable Chip Jones -- on what
is becoming a somewhat predictable scenario: “...The company brings in an expert, bares its soul and confesses its sins,
then asks the compliance officer to fix everything. ‘They bring in someone who wants to build a world-class program...’
The [breakdown]... becomes so toxic, Jones adds... the compliance officer quits or files a whistleblower suit.” Reisinger,
S. (2017, August 7). Ride the Whistleblower Wave: Retrieved from Corporate Counsel:
http://www.corpcounsel.com/id=1202794888902/Ride-the-Whistleblower-
Wave?cmp=share_emailé&slreturn=20170826174614

2 In Sharkey, the Second Circuit established that complaints pertaining to a violation of the anti-money laundering statute
qualifies as protected conduct under SOX. Stempel, J. (2016, September 12). JPMorgan whistleblower case

revivedJP Morgan Whistleblower Case Revived by U.S. appeals court.Appeals Court. Retrieved from Reuters:
https://www.reuters.com/article/us-jpmorgan-whistleblower-lawsuit/jpmorgan-whistleblower-case-revived-by-u-s-appeals-
court-idUSKCNI1111T7

 
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Very truly yours,

Dur.

STEVE KARDELL
State Bar No. 11098400

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FAX: (469) 729-9926

ATTORNEYS FOR COMPLAINANT
SK;(bt)

CERTIFICATE OF SERVICE

 

The foregoing has been sent by electronic means (email) to the following counsel for
Respondents, on September 28, 2017. A courtesy copy has also been sent via email to Anthony
Incristi, Regional Supervisor, OSHA.

 

 

Name Contact information Role
Elizabeth Weathers-Nguyen Associate General Counsel In-house counsel for
MoneyGram International Respondent MoneyGram
2828 N Harwood St., #15 International

Dallas, TX 75201

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Pepe Sef 3 4.

 
